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                             UNITED STATES DISTRICT CO URT
                             SOUTHERN DISTRICT O F FLO RIDA

                              Case No.15-24363-CN -W lLLIAM S

  MARJAM SUPPLY CO M PANY OF FLO RIDA ,
  LLC,and MARJAM SUPPLY CO M PANY,

         Plaintiffs

  VS.

  PLITEQ ,IN C.,ULTIMATE RB,INC.,
  and PAUL DOW NEY,

         Defendants.
                                  /

                                          O RDER

         THIS MATTER isbefore the Courton DefendantUltimate RB,Inc.'s(';URB'')
  amended motionto dismissforIackofpersonaljurisdiction (DE 34.
                                                              ,Response DE 47.
                                                                             ,
  Reply DE 51).
              ,URB'Smotionto strike podionsofJames Metcalf'sAffidavitsubmitted in
  opposition to motionto dismissforlack ofpersonaljurisdiction (DE 52.
                                                                     ,Response DE
  53).
     ,and URB'Smotion dism issforfailureto state a claim (DE 12.
                                                               ,Response DE 42.
                                                                              ,
  Reply DE 50). Forthe reasons below,the Courtgrants URB'Smotion to dismissfor
  Iackofpersonaljurisdiction and deniesas mootURB'Smotions to strike and to dismiss
  forfailure to state a claim .

         BAC KG RO UND

         This case is aboutthe quality ofrubberacousticalunderlaym entproducts,

  specifically 'flatrubber,resilient,reduced sound transmission matls)which (are)utili
                                                                                     zed
  directly beneath hard surface floorfinishes and overconcrete and wood construction,in

  orderto provide sound attenuation controlin m ulti-fam ily housing,high-rise and
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  commercialbuildings.''(DE 1% 12).Plaintiffs Marjam Supply Company ofFlorida and
  Marjam SupplyCompany(collectively,''Marjam'')are affiliated Florida and New York
  corporationsthatsupply and distribute building m aterials. (DE 1II!15-6). Defendant
  Pliteq,Inc. ('PIi
                  teq'
                     ')is a Canadian corporationthatsupplies rubberacoustical
  underlaymentproductsunderi
                           ts own Iabel.l (DE 1j!!l7-8). Pliteq sourcesthese
  productsfrom URB,a rubberrecyclerand manufacturerwhich Marjam alleges is
  incorporated and has itsprincipalplace ofbusiness in Oregon (DE 1at1-2),butwhich
  URB asseds is incorporated in Delaware with its principalplace ofbusiness in M issouri

  (DE 47 at6).
        From 2013 to 2015,Marjam purchased $1.6 million worth ofPliteq's ''GenieMat
  RST'
     'brand rubberm ats,prim arily to supply padners involved in the construction of

  high-rise apadmentand condom inium projects in South Florida. (DE 1I11117,18). One
  such transaction- Marjam's July2015 purchase of256,000 square feetofPliteq's
  GenieMatRST12 product- gave riseto the issues presented inthis case. (DE 1:118).
  Afterthis purchase,Marjam sold alI256,000 square feetofthe productto a
  subcontractorworking on a high-rise residentialcondom inium projectin Miamiknownas
  the S'Met3 Project.''(DE 1!118).The realestate developerspearheadingthe Met3
  Project,ZOM Living ('
                      tZOM''),intended to use the GenieMatRST12 matsto provide
  sound insulation forthe occupants ofeach ofthe building's condom inium units. In fact,

  Marjam specificallyordered the GenieMatRST12 modelfrom Pliteq because ZOM's
  acousticalengineers had specified thatthey wanted sound attenuation products ofa

  certain thicknessand t'sound transmission coefficient''or''STC,' (DE 111% 19-20).
  However,afterMarjam deliveredthe GenieMatRST12 mats,ZOM'sacoustical
  1 Pliteq's Presidentand ChiefExecutive Officeris DefendantPaulDowney (DE 1!19).
                                                                           .




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  engineers tested them and found thattheirSTCS were lowerthan whatPliteq had

  represented,m eaning thatthe sound attenuation capability ofthe m ats was below the

  levelZOM required.(DE 1lr21).Accordingly,ZOM canceled the order,returned the
  GenieMatRST12 matsto Marjam,andturned to Marjam'scompetitorto purchase a
  differentbrand ofmatsthatmetZOM's needs. (DE 1!122).
        Subsequently,Marjam independentlytested a broad range ofPliteq'sGenieMat
  RST products and found thatthey regularly fellbelow the thicknesses and STCS that

  Pliteq represented publiclyand published on its website. (DE 1!r24-26). Marjam also
  contends thatPliteq failed to disclose thatthe STCS itadvedised were based on tests

  conducted 'withoutadherence to an underfloorwith glue,the approved and standard

  m ethod ofutilization ofthe products,thereby resulting in an overstatem entoftheir

  sound attenuation qualities.''(DE 1!130).Marjam therefore claimsthatitcannot
  ''responsibly resell'the m ats from its July 2015 orderand thatthe failed transaction has

  costitsignificantIostprofits and actualdamages.(DE 1:123). Finally,Marjam alleges
  thatURB knew aboutand com plied w ith Pliteq's unlawfulrequestto m islabelthe m ats

  and knew aboutthe m isleading tests Pli
                                        teq conducted to produce inflated sound

  transmission coefficients.(DE 1!(27,28-30).
        On November24,2015,Marjam broughtthree causes ofaction againstURB:
  Count1 alleges thatURB violated Florida's Deceptive and UnfairTrade Practices Act

  ('FDUTPA''),Fla.Stat.j 501.24.
                               ,Count2 allegesthatURB violated the Lanham Act's
  prohibition onfalse and misleading advedising,15 U.S.C.j 1125(a)(1)'
                                                                     ,and Count8
  allegesthatURB was pad ofa civilconspiracyto defraud Marjam . URB moved to




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  dism issthesethree claim sbecausethe Courtlacks personaljurisdiction overURB and
  because Marjam hasfailed to state a claim againstURB.
  II.    LEGAL STANDARD

         On a motiontodism issforIackofpersonaljurisdiction,the Courtacceptsastrue
  allallegations in the com plaintto determ ine whetherthe plaintiffhas m ethis burden of

  establishing aprima facie case ofpersonaljurisdiction.See Stubbs?.Wyndham
  Nassau Resorl& CrystalPalace Casino,447 F.3d 1357,1360 (11thCir.2006).
  prima facie case is established i
                                  fthe plaintiffputs forth enough evidence to w ithstand a

  motionfora directed verdict.''Id.(quotation marksand citation om itted).
         The Courtengages in a two-pad analysis to determ ine ifitm ay exercise

  jurisdiction overa non-residentdefendant. See Louis Vuitton Malletien S.A.v.Mosseri,
  736 F.3d 1339,1350 (11th Cir.2013)(citing Mut.Sea.Ins.Co.?.FritIndus.,Inc.,358
  F.3d 1312,1319 (11thCir.2004))*
                                ,Virgin HeaIth Corp.B.Virgin Enters.Ltd.,393 F.
  App'x 623,626 (11th Cir.2010)(citing United Techs.Corp.?.Mazer,556 F.3d 1260,
  1274 (11th Cir.2009)).
                       ,Cable/Home Com mc'n Corp.v.Network Prods.,Inc.,902 F.2d
  829,855 (11th Cir.1990)(citationsomitted). First,the Courtdeterm ines whetherthe
  defendant's activities satisfy Florida's Iong-arm statute. See M osseri,736 F.3d at1350.

  Second,the Courtdetermineswhethertheexercise ofjurisdiction comports withthedue
  process requirem ents ofthe Foudeenth Am endm ent. Id.at1350-51.

  111.   DISCUSSIO N

         URB arguesthatMarjam's Complaintfailsto plead any basis forpersonal
  jurisdiction pursuantto Florida's Iong-arm statute,Fla.Stat.j 48.193,orthe Due




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  Process Clause ofthe Fourteenth Am endm ent.The Coud agrees and dism isses

  Marjam 'scIaimsagainstURB withoutprejudice.z
         Marjam bearsthe ini
                           tialburdenofestablishing aprima facie case ofpersonal
  jurisdiction. See Stubbs v.Wyndham Nassau Resorl& CrystalPalace Casino,447
  F.3d 1357,1360 (11thCir.2006)(citing Meierex rel.MeierB.Sun Int'lHotels,Ltd.,288
  F.3d 1264,1268-69 (11th Cir.2002)).To do so,Marjam mustplead factssufficientto
  withstand a directed verdictthatURB is within the reach ofFlorida's Iong-arm statute,

  FIa Stat.j 48.193,inone oftwo ways.Id. First,Florida courts canexercise general
  personaljurisdiction overanyclaims againsta defendant- whetherornotthey involve
  the defendant's activities in Florida- ifthe defendantengages in ''substantialand not

  isolated activity''in Florida. Schulm an v.Inst.forShipboard Educ.,624 F.App'x 1002,

  1005 (11th Cir.2015).Second,Florida coudscanalso exercise specificpersonal
  jurisdiction oversuitsthatarise outoforrelate to adefendant'scontactswith Florida i
                                                                                    f
  those contacts fallw ithin one ofnine statutorily enum erated categories setfodh in Fla.

  Stat.j48.193(1)(a). Id.
         To avoid offending URB'S rightto constitutionaldue process,Marjam mustalso
  pleadfactsthatURB'S''contactwiththe state is suchthat(it)has '
                                                               fairwarning'that(it)
  maybe subjectto suitthere.' Licciardello v.Lovelady,544 F.3d 1280,1284 (11th Cir.
  2008)(citationomitted). ''Thisfairwarning requirementissatisfied ifthe defendanthas
  2 Because ''
             jurisdictionalquestions generallyshould be decided before reaching the
  m erits,''the Courtfirstconsiders URB'S m otion to dism iss forIack ofpersonal
  jurisdiction. Courboin v.Scolt 596 F.App'x 729,735 (11th Cir.2014)(citing Republicof
  Panama B.BCCIHoldings (Luxembourg)S.A.,119 F.3d 935,940 (11th Cir.1997).      ,
  Madara v.Ha#,916 F.2d 1510,1514,1514 n.1(11th Cir.1990)).The Courtdismisses
  Marjam's claimsagainstURB because the Complaintpleads no factssuppoding the
  exercise ofpersonaljurisdiction,and sodeniesboththe motion to strike and motionto
  dism iss forfailure to state a claim as m oot.


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  purposefully directed his activities atresidents ofthe forum ,and the Iitigation results

  from alleged injuriesthatarise outoforrelateto those activities.''/d.(quotation marks
  and citations om i
                   tted).A coud also ''mayassed generaljurisdiction overforeign (sister-
  state orforeign-country)corporations,withoutoffending due processwhen their
  affiliations with the State are so continuous and system atic as to renderthem essentially

  athome in the forum State.''Carm ouche v.Tam borlee M gm t.,Inc.,789 F.3d 1201,1204

  (11th Cir.2015)(quotationmarksand citationom i
                                               tted).The ''athome''threshold is met
  by 'Iolnlya limited setofaffiliationswith a forum,'suchas a corporation's place of
  incorporation,principalplace ofbusiness,orin ''exceptionalcases,'substantialactivities

  inthe forum. Id.(quoting DaimlerAG v.Bauman,571U.S.---,134 S.Ct.746,760
  (2014)).
        The Com plaintcontains no facts thatestablish a prim a facie case ofpersonal

  jurisdiction overURB undereitherFlorida's Iong-arm statute orthe Due Process Clause
  ofthe Foudeenth Am endm ent. Indeed,the Com plaintalleges no directlink between

  URB and Florida atalland instead recites a listoffacts thatare irrelevantto a personal

  jurisdiction analysis.3 Marjam respondsthatdespite notalleging anyfactsIinking URB
  directly to Florida, the Complai
                                 ntstiflestablishes personaljurisdiction in two mainways.4

  3SPecifically, the Compl
                         aintallegesthatURB is an Oregon corporation (DE 1at1-2).   ,
  thatURB m anufactures rubbersound isolation products forPliteq $1to w hich Pliteq
  affixes itsprivate label''(DE 1:17),
                                     .thatURB is a ''rubberrecyclerand manufacturerof
  recycled rubberacousticalunderlaym entforboth residentialand com m ercial
  applications''(DE 1!110)thatitsells in S'thicknessesfrom 2mm to lzmm''(DE 1:114),
                                                                                  *
  thatfrom 2013 to2015,Marjam acted asa distributorand supplierofproducts
  'manufactured by(UIRB forPliteq''(DE 1!111),    .thatMarjam cannotresell256,000
  square feetofGenieM atRST12 productitboughtfrom Pliteq in July 2015 and now
  holdsthese products afterthe failed Met3 Projecttransaction in partbecause of
  'EUIRB'S mis-description and misrepresentation'
                                                '(DE 1!123).,thatPliteq gave
  d
  tinstructionsto (UJRB to mislabelthe productsasto thickness,an unlawfulrequestwith
  which (URB)knowingly complied and implemented''(DE 1!127)specificallywith regard

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         First,Marjam arguesthatURB'S''knowing and active conductin mislabeling and
  m is-describing the GenieM atRST products ,..has resulted in claims forviolations of

  FDUTPA and Lanham ActEsic)...aIItodiousconductwhich in thiscase caused injury
  to Marjam in Florida,regardless ofthe factthat(UIRB'S conductin m islabeling and mis-
  describing the producttookplace outside Florida.''(DE 47 at9).Thisargument
  premisesjurisdictionentirelyon the Complaint's conclusory statementthatPliteq
  instructed URB- outside ofFlorida- to 'm islabelthe products as to thickness,an

  unlawfulrequestwithwhich (URBJknowinglycomplied and im plemented.''(DE 11127).
  However,the only facts the Com plaintincludes in suppod ofthis statementare that

  Pliteq specifically instructed URB to m islabeltwo products- the GenieM atRSTO2 and

  RST06 (DE 11128-29)- thatare notthe GenieMatRST12 products involved in the
  transactionthatprecipitated this suit.Thus,unlike the plaintiffs inthe two cases Marjam
  cites,Marjam alleges no connection between URB and Florida asidefrom the factually
  to Pliteq's GenieMatRST02 and GenieMatRST06 products (DE 1:N 28-29).
                                                                     ,and that
  URB knows Pliteq's GenieM atRST Iine ofproducts 'produce significantly Iess sound
  attenuation''than advedised (DE 1!130).
 4 Marjam makestwo otherargumentsforpersonaljurisdiction. First,itcontendsthat
  URB ''holds itselfoutas being one ofthe Iargestrecycle rubberm anufacturers in the
 world,(and)actively advedises,marketsand sells itsbranded acousticalunderlayment
 flooring productsthroughoutthe state ofFlorida,'subjecting URB to generaljurisdiction
  underFlorida's long-arm statute and the Due Process Clause ofthe Foudeenth
 Amendment.(DE 47 at11-12). The Coud disregardsthis argumentbecause Marjam
  raises these allegations forthe firsttim e in its briefing ratherthan in the Com plaint.
  Second,Marjam citesFla.Stat.j48.193(1)(a)(6),which providesforjurisdictionovera
  cause ofaction againsta foreign defendantwho l'processed,serviced orm anufactured''
  products 'used orconsumedwithin' 'Florida thatcaused dlinjuryto persons orpropedy.'
  However,thisprovision l'contemplatels)personalinjury orphysicalpropedydamage'
 within the State ofFlorida and does notapply to claim s alleging only econom ic
 dam ages' 'as in this case. Reflection M fg.,LLC v./.S.A.Corp.,No.6:10-CV-1951-O RL,
 2011W L 972570,at*9 (M .D.Fla.Mar.18,2011)(interpreting FIa Stat.j
 48.193(1)(a)(6),formerly j 48.193(1)(9(1)-(2))(quoting Aetna Life & Cas.Co.v.Therm-
 O-Disc,Inc.,511So.2d 992,994 (Fla.1987)).


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  unsuppoded statementthatitwas injured in Florida by URB'Sout-of-state 'mis-
  descriptionand m isrepresentation''(DE 1% 23)ofmatsthatPliteq sellsand thatMarjam
  does notspecifically claim to have bought. See Koch v.RoyalN ne M erchants,Ltd.,

  847 F.Supp.2d 1370,1381 (S.D.Fla.2012)(granting motion todism iss FDUTPA claim
  w here plainti
               ffdlfailed to plead sufficientfacts to establish thatDefendants com m itted a

  tortin Florida'
                'l;see also SPM Therm o-shield,Inc.v.SICC,Gmbbl,No.2:15-cv-439-
  FtM-29CM ,2015W L7076692 (M.D.Fla.Nov.13,2015)(denying motionto dismiss
  Lanham Actclaim forIackofpersonaljurisdictionwhere the defendantcorporation
  allegedly m isappropriated the plaintiffFlorida corporation's m arketing materials and

  postedthem ona website accessible in Florida).
         Second,Marjam contendsthatthe Complaintsuccessfully alleges personal
  jurisdiction because URB isthe memberofaconspiracy and the Courtshould therefore
  impute to URB the Florida actsofits co-conspiratorPliteq. (DE 47 at9).Thisargument
  reliesontwo Florida cases:Execu-Tech Business Systems F.New OjiPaper
  Company,752 So.2d 582 (FIa.2000)and W ilcox v.Stout,637 So.2d 335 (FIa.2d Dist.
  Ct.App.1994). In Execu-Tech,the plainti
                                        fffiled suitin Florida state courtagainsta
  Japanese corporation thatclaim ed to have no contacts w ith Florida. 752 So.2d at583.

  The Execu-Tech com plaintalleged thatthe Japanese corporation had pled guilty to

  federalcrim inalcharges thatitpadicipated in a price-fixing conspiracy w i
                                                                           th other

  thermalfax paperm anufacturers. /d.at585. In Iightofthis cri
                                                             ticalfact,the Florida

  Supreme Coud held thatthere wasa ''nexus between (the Japanese corporation)and
  the retailprice paid in Florida forprice-fixed therm alfax paper''such thatthe Florida




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  coud cousd exercise personaljurisdiction.Id.at586.ln reaching thisdecision,the
  Execu-Tech courtrelied on W ilcox,in which a Florida interm ediate appellate courtheld:

        W here a civilconspiracy to com m ittodious acts has been successfully alleged,
        and some ofthose acts are alleged to have been accom plished w ithin the state
        ofFlorida,we have no hesitancy in applying the well-accepted rules applicable to
        the liability ofco-conspirators in the crim inalcontext.Those rules m ake every act
        and declaration ofeach m em berofthe conspiracy the actand declaration of
        them all.Additionally,each conspiratoris Iiable forand bound by the actand
        declaration ofeach and aIIofthe conspirators done orm ade in fudherance ofthe
        conspiracy even ifnotpresentatthe tim e.

  637 So.2d at337. Relying on this statem entoflaw,the W lcox coud reversed a trial

  courtthathad acknowledged the plainti
                                      fft'successfully alleged a conspiracy''touching

  Florida,butnonetheless dism issed the plaintiff's claim s againsttwo co-conspirator

  defendants who were otherwise unconnected to Florida. Id.at336. Pursuantto the

  decisions inExecu-Tech and W ilcox,Floridacouds canexercise personaljurisdiction
  overa defendantwith no otherconnection to the state where padicipation in a civil

  conspiracy touching the state has been successfully alleged. Significantly,both the

  Execu-Tech and W ilcox plainti
                               ffs advanced allegations dem onstrating a civilconspiracy,

  which isa prerequisite to the imputationofthe acts ofco-conspiratorsforjurisdictional
  purposes. See Execu-Tech,752 So.2d at586,
                                          .W ilcox,637 So.2d at336.

        Accordingly,in Platypus Y eac Inc.F.C/arke M odet& Co.,515 F.Supp.2d 1288,

  1293 (S.D.Fla.2007),anothercourtofthis Districtgranted an individualdefendant's
  motion to dismissforIackofpersonaljurisdiction where the plaintiffhad notsuccessfully
  alleged a civilconspiracy. In arguing forthe denialofthe individualdefendant's m otion,

  the Platypus plaintiffcited Execu-Tech and W ilcox and soughtto im pute the Florida acts

  ofa corporate co-defendantand alleged co-conspiratorto the individualdefendant. Id.

  at1292-94. However,the coud granted the individualdefendant's m otion afterfinding


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   thatcircum stantialindications ofa conspiracy- including references to speci
                                                                              fic em ails

   and m eetings--did notsuppod his involvem entin a conspiracy w ith the corporate co-

   defendant. Id.at1295-96.

         In this case,there are no facts supporting URB'S involvem entin a conspiracy

   with Pliteq.To allege a civilconspiracy,Marjam mustcite facts allowing forthe
   reasonable inference that''an agreementexisted betweenIURB and Pliteq)to do an
   unlawfulact(ora Iawfulactby unlawfulmeans),thatsome oved actwas done in
   fudherance ofthe conspiracy,and that(Marjamlwas harmed as a result.''See Car/es
   Const.,Inc.v.Travelers Cas.& Sur.Co.ofAm .,56 F.Supp.3d 1259,1281 (S.D.Fla.
   2014)(citing Russo B.Fink,87 So.3d 815,819 (FIa.4th Dist.Ct.App.2012). But,as
   discussed above,the Com plaintoffers only the conclusory statem entthatPliteq gave

   ''specificinstructionsto (UJRB to mislabelthe products asto thickness,an unlawful
   requestwithwhich IURB)knowinglycomplied and implemented''(DE 1!(27)without
   any reference to whatthe statements were,who m ade them ,orwhen they were m ade.

   M oreover,the few facts in the Com plaintsuppoding Pliteq's alleged instructions to URB

   have nothing to do with the GenieM atRST12 productinvolved in the transaction that

  gave rise tothis suit. (See DE 1IN 28-29).
         Thus,because Marjam offersonly conclusions and no factsto suppod the civil
  conspiracy claim againstURB,the Courtcannotim pute Pli
                                                       teq's Florida acts to URB to

  find thatthe Complaintestablishesa prima facie case ofpersonaljurisdiction. See
  Platypus,515 F.Supp.2d at1296.
                               ,Hudson Glob.Res.M gm t.,Inc.e.Beck,No.

  805CV1446T27TBM,2006 W L 1722352,at*3 (M.D.Fla.June 20,2006)(dism issing
  case where 'Plaintiffhas notsufficiently alleged a prima facie case ofjurisdiction''l'
                                                                                       ,Bell


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  AtlanticCorp.v.Twombly,550 U.S.544,555 (2007) (plaintiff's complaintneed not
  provide d'detailed factualallegations,'butm ustprovide ''m ore than labels and

  conclusionsn).
  IV.   CO NCLUSIO N

        Forthe reasons above,itis O RDERED A ND ADJUDGED as follows:

            DefendantURB'S amended motionto dismissforIackofpersonaljurisdiction
            (DE 34)isGRANTED. Plaintiffs'claims againstURB are DISMISSED
            W ITHOUT PREJUDICE and Marjam may attemptto re-plead allegations
            sufficientto establish personaljurisdiction overURB.
        2. DefendantURB'S m otion to strike podions ofJam es M etcalf'sAffidavit

            submitted inoppositionto motion todismissforIack ofpersonaljurisdiction
            (DE 52)is DENIED AS MOOT.
        3. DefendantURB'Smotionto dismissforfailure to state a claim (DE 12)is
            DENIED AS MO OT.

        4. Plaintiffs shallfile any am ended complaintwithin 14 days ofthe date ofthis

            Order.

        DONE AND O RDERED in cham bers in M iam i,Florida,this t day of

  Septem ber,2016.




                                                 KATHLE  M .W ILLIAM S
                                                 UNITED TATES DISTRICT JUDGE
